     Case: 1:15-cv-02394 Document #: 56 Filed: 02/29/16 Page 1 of 1 PageID #:199

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

Pavel Zissu, et al.
                                       Plaintiff,
v.                                                        Case No.: 1:15−cv−02394
                                                          Honorable John Z. Lee
IH2 Property Illinois LP, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 29, 2016:


       MINUTE entry before the Honorable Young B. Kim: After reviewing the parties'
settlement position letters, the court proposed a settlement bracket as a condition to
keeping the scheduled settlement conference. Parties are ordered to contact the court
separately by email, accepting or rejecting the recommended bracket, by no later than
March 2, 2016, at 2:00 p.m. Today's status hearing is cancelled. The court will issue a
follow−up order on March 3, 2016, either keeping or cancelling the in−person settlement
conference scheduled for March 7, 2016. Mailed notice (ma,)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
